| | JUDGE ABRAMS

 

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YoRK

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Aorist

Write the full name of each plaintiff.

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-against-

 

Write the full name of each defendant. If you need more
space, please write “see attached” in the space above and
attach an additional sheet of paper with the full list of
names. The names listed above must be identical to those
contained in Saction Hl.

     

CV Os

(Indude case number if one hasbeen.
assigned)

COMPLAINT

Do you wanta jury trial?
“Yes 5 No

 

 

 

NOTICE

The public can access electronic court files, For privacy and security reasons, papers filed
with the court should therefore not contain: an individual’s full social security number or full
birth date; the full name of a person known to be a minor: or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of
an individual's birth; a minor’s initials; and the last four digits of a financial account number.

See Federal Rule of Civil Procedure 5.2.

 

 

Fev. 1/9/17
I. BASIS FOR JURISDICTION

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of
cases can be heard in federal court: cases involving a federal question and cases involving
diversity of citizenship of the parties. Under 28 U.SC. § 1331, a case arising under the United
Sates Constitution or federal laws or treaties is a federal question case. Under 28 USC § 1332,
a case in which a citizen of one Sate sues a citizen of another Sate or nation, and the amount
in controversy is more than $75,000, is a diversity case. in adiversity case, no defendant may
be a citizen of the same Gate as any plaintiff.

What is the basis for federal-court jurisdiction in your case?

[1 Federal Question

“A Diversity of Citizenship

A. If you checked Federal Question

Which of your federal constitutional or federal statutory rights have been violated?
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The Visual Ae st Kealris Den — Fedew,|
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Article (4.02
B. If you checked Diversity of Citizenship eau Rigint ot’ Pobtuceky Satin SOx 5

1. Citizenship of the parties

 

Of what State iseach party acitizen?

The plaintiff , AVIOUvOu 6 \ CS woo ke , is a citizen of the State of
ws name)

\QeosNor a

(State in which the person resides and intends to remain.)

 

or, if not lawfully admitted for permanent residence in the United States, a citizen or
subject of the foreign state of

 

if more than one plaintiff is named in the complaint, attach additional pages providing
information for each additional plaintiff.

Page 2
If the defendant is an individual:

The defendant, Noe \y Nowe Weed, Noe. vis a citizen of the State of

(Defendant’s name)

\ 3 euler ee
or, if not lawfully ad mitted for permanent residence in the United States, a citizen or
subject of the foreign state of

 

if the defendant is a corporation:

The defendant, side (\skione Ace ,is incorporated under the laws of
oO

the State of \\, \o CRAG |

and has its principal place of business in the State of > \etses C

or is incorporated under the laws of (foreign state)

 

and has its principal place of business in

 

If more than one defendant is named in the complaint, attach additional pages providing
information for each additional defendant.

II. PARTIES

A. Plaintiff Information

Provide the following information for each plaintiff named in the complaint. Attach additional

 

pagesif needed. oo
| A AQWRME [ Poon lo t te
First Name Middle Initial Last Name

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County, City State Zp Code
Or (>) A) 7 ~FAGO aitrs wi betta (Da monk) 6 Ca
Telephone Number Email Address (if available) _)

Page 3
B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. if the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the

caption. Attach \ pages ifneeded.
Defendant 1: Me 9 \y \ovocan
first Name ast Name ee
e ABNl4 Estake TAVLOS lnc.
Current . Title for other identifying ne
i222) Old Formace Road

 

Current ro “ ess {or other address where a tmay be served)
Sealie A Deleware ! G47 3
County, City State Zip Code

Defendant 2: Ag he O Os cuaun
First Name — Last.Name 2 nen
Ow C4 be. axe eben | | en

Current Job Title (or other identifying information). ——~

fQdQat Cld bimance Reacd

Current * Address (or other address where defendant may be served}

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County, City State Zip Code

Defendant 3: otabe {\ phon S tine .
First Name Last Name
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County, City State , Zip Code

Page 4
Defendant 4:

 

First Name Last Name

 

Current Job Title (or other identifying information)

 

Current Work Address (or other address where defendant may be served)

 

County, City State Zip Code

IE. STATEMENT OF CLAIM —--—

Place(s) of occurrence: _ wt ery ert - hb i
Date(s) of secure, | ee & w\De4 JO | iG =O 4 aa\ \y “pes it fom

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FACTS:

State here briefly the FACTS that support your case. Describe what happened, how you were
harmed, and what each defendant personally did or failed to do that harmed you. Attach

additional pages if needed.
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Page 5
Plaintiff Annamarie Trombetta--Professional Fine Artist - vs -
Defendant Marie and Norb Novocin ---Owners of Estate Auctions Inc

Attachment of Facts
1. In late summer of 2015, via the internet, | found out that in December
2012 Estate Auctions inc, which is owned and operated by Marie and Norb
Novocin sold a painting that they falsely misattributed to me.

2. On December 1, 2012 Marie and Norb Novocin sold an Oil painting dated 1972,
entitled “Man with a Red Umbrella”. In their description listing was an internet posting
and link that the painting was signed Annamarie Trombetia and that | painted it in
1972. They also included in the description on the internet a photo of a signature on
the painting which is not my signature. The photo signature is A. Trombetta. The
painting description documents that it was signed Annamarie Trombetta. The Estate
Auction Inc. description stated there were “12 photos . The photos of the images
were not visible online, only the photo of the A. Trombetta signature signed in oil.

3. In 1972 | was nine years old and was not painting at all. My website biography
makes that clear. Estate Auctions inc. copied information from my artistic website
and listed my biography on their on-line store for their e-Bay internet site . This
posting was listed under my name and profession/Artist listing on the internet.
This is how | found and kept finding false links and additional information.

4. Value--The 1972 “Man with the Red Umbrella” sold for $181.50 and was
described as a large oil approx. 17 1/2 wide X 48 1/2 tall. The description
states that there is a tear in the canvas 5/8 long and is described as “shabby
chic”. Further, the EA Inc. listing stated that the painting was “signed on the
bottom but on the back it has written in red on the stretcher, Annamarie
Trombetta “ Gifted” 1977, Painted 1972. | did not paint in ofl until 1981.

My biography which was copied and used by Estate Auction Inc. indicates when
when | began painting and it was not in 1972.

5. This damaged low bid priced painting which is falsely attributed to my name
posted on the internet greatly devalues my work and the integrity of
the quality of my materials used to create my work. This is defamation.

6. The prices of my artwork at present are not listed on the internet nor on my
website. The Estate Auction Inc. misappropriated sale which attributed a false
damaged painting with a iow price to my name undermines the value of my
work which constitutes libel. Some examples of my current retail value is 2 inch
by 2inch miniature oif painting sold in 2016 for $500. A painting sold in 2017

is an oi! size 16 inch by 20 inch which was purchased for $5500.

7. | created ail the content--text(biography) and visuals on my website and | am
the sole owner and author of that content. The Digital Millennium Copyright Acts
permits others to use the text for education but does not for the use to gain a profit.
8.

[never gave Estate Auctions Inc.the right to use my name nor to use the
content of my biography. As the owner of the copyright I did NOT sell the
reproduction rights nor did | sell the license to print while | retain the
Copyrights. No such transaction with either EA Inc or Worthpoint happened.

| am a New York artist who creates, sells & exhibit my work in NY City. Most
of my subject matter is of New York, Central Park in particular. In 2015 | had
2 solo exhibits on my Central Park artwork, one venue was at a museum. The

false painting was posted on the internet and is visible throughout the world.
The internet posting was up since the sale of December 1, 2012 until 2017.

10. This posting caused the value and sales of my work to decrease. {| know of

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one lost sale due to this posting after my two solo exhibits in 2015.

Estate Auctions Inc. defines themselves under their description for the 1972
Original Olil Painting Man With Red Umbrella Signed Annamarie Trombetta

YQZ as the “ seller of Antiques, Collectibles and Quirky items on eBay. E Bay is
described as an internet multi-national e-commerce corporation. Estate Auctions
inc states that they have been in business “since 1998. ALL of their auctions start
at 99 cents.

The misappropriated painting and the use of my name in association has
been posted on the internet since the sale of the fraudulent artwork on
December 1, 2012 according to Gregory Watkins who is the website master
at Worthpoint.com. Worthpoint is an internet website which posts the sales
made by Estate Auctions Inc. The photo feature of the signature
A.Trombetta--a signature that was NOT MINE featured the ebay logo and
had with the © symbol & “Copyrighted work licensed by Worthpoint”.

To clarify my reason for this legal action | will give a brief history prior
to commencing this lawsuit.

History--Beginning in 2015 | had two solo exhibitions. There were
four articles written on my exhibits which in time were on the internet.

In mid August 2015 a colleague brought to my attention the false posting
using my personal and detailed biography which was listed on the
Worthpoint,com website stating that the painting was sold . The e Bay logo

and statement S “Copyrighted work licensed by Worthpoint” appeared
under a signature “A. Trombetta painted in oil on canvas which is not mine.
15.

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ah

From late August to October 2015 | kept contacting e Bay by phone and
via e-mail to no avail and /or derived any conclusive information.

From late October 2016 | kept contacting Worthpoint.com which was the
website which listed the posting of the misappropriated painting sold by
Estate Auctions Inc. | was unable to contact or receive a response until

| signed onto their website Membership. Anita who worked at Worthpoint
was my phone contact. After many calls | informed her that | was NOT
the artist who painted this image etc. In February 2016 | spoke with
Worthpoint’s Web Master/Designer Gregory Watkins at (770) 344-9182.
Mr. Watkins gave me the e-mail of William Sieppel will@werthpoint.com &
| was given a removal ticket #57675. In time the internet post disappeared.

In December 2016 | found the Worthpoint posting on the internet again
under Annamarie Trombetta & Artist Annamarie Trombetta. This time

| and one of my collectors, Teri Meissner contacted the original seller of the
false painting which was Estate Auctions Inc. Upon receiving a no answer
response, | phoned Marie Novocin on January 10th 2017. Shorily after |
received a phone call from Norb Novocin . In short he stated they did
nothing illegal and that | should “GO FOR IT and hire an attorney”.

In January | also contacted Will Sieppel CEO at Worthpoint.com via e-mail
to have the second posting removed AGAIN from the internet.

In September of 2017 Attorney Megan Noh of Cahill Cossu Noh

& Robinson sent a Letter to Marie & Norb Novocin for Settlement Purposes.
Megan Noh did not receive any response. She called to confirm receipt of the
letter which Marie Novocin did confirm yet she refused to accept any liability.

In October 2017 | made a report with the BBB of Delaware. A response letter
from November 28, 2017 was forwarded to the Delaware Better Business Bureau
by Marie Novocin which contained either incorrect and or false statements.
These Statements regarding myself and the Letter from Attorney Megan Noh are:

“We have not bought or sold anything from her”. Her is Annamarie Trombetta
“she was very upset with us, and threatened to get a lawyer to force us
to divulge our buyer’s name.
“we received a demand letter from an attorney on behalf of the person filing
the complaint with you for damages. This was forwarded to our attorney
who assured us that we did nothing wrong and not to respond to the demand
letter. There was no mention of providing the name of the buyer of the
painting in question”
“Her contention that we used information from her website is incorrect “
EAiInc. made a sale/profit & misattributed this painting that | did not paint.

Both the New York State Arts & Cultural Affairs Laws Article 14 Section 14.03
1972 Original oft Painting Man With Red Umbrella Signed Annamarle Trombetta yqz (12/01/2012) 8/1/15, 8:46

 

 

Worthopedia™
price guide

Flag item for content or copyright
If this item contains incorrect or inappropriate information please contact us here to flag it for review,

If you are the originator/copyright holder of this photo/item and would prefer it be excluded from our
community, contact us here for removal,

e Home > Worthopedia™ > 1972 Original Oil Painting Man With Red Umbrella Signed Annamarie
Trombetta yqz

1972 Original Oil Painting Man With Red Umbrella Signed Annamarie Trombetta yqz

Sold for: Start Free Trial or Sign In to see what it's worth.
Item Category:

Source: eBay

Sold Date: Dec 01 2012

Channel: Online Auction

® @ee8.e6

Welcome to EstateAuctionsInct We are one of the Top Sellers of Antiques, Collectibles and Quirky items on
eBay. We have been selling since 1998 and ALL of our auctions start at .99 cents. We are proud to announce
that we maintain a "FIVE STAR Detailed Seller Rating" and our staff strives for 100% customer satisfaction,
our 100% feedback rating will vouch for that. We work with consigners from Coast-To-Coast and work hard to
make sure we have top quality items. We are "Your Quality Zone" - search "Y QZ" to see our other listings our !

 

>>>>> UP IN THIS AUCTION <<<ce 1972 Original Oil Painting Man With Red Umbrella Signed Annamarie
Trombetta New York Listed Artist - Shabby Chic Condition

- DESCRIPTION - Please be patient there are 12 photos to be loaded in this auction. Up in this auction is a
wonderful and delightful oif on canvas painting of a man (J guess it could be a woman) with a red umbrella.
This is by Annamarie Trombette. It is Signed on the bottom, but on the back it has written in red on the stretcher,
Annamarie Trombetta "Gifted" 1977, "Painted" 1972. To our eyes it looks like it is after the style of Andre
Kohn. It is quite large being approx. 48 1/2" tall and 17 1/2" wide. We are calling it shabby chic condition as it
has a tear in the canvas, about 5/8” long just to the left of the man's knees, but still such a great painting. For
those not familiar with Trombetta, here is information about her from off AskArt as they got it from her

MPH eavwworthpoint.com /worthopedia/ 1972~original-oil-painting-man-red-48024 72 Page 2 of 7
1972 Original Oi! Painting Man With Red Umbrella Signed Annamarte Trombetta ¥qz (12/01/2012) 8/1/15, a4

website: Annamarie Trombetta (1963 - ) Lived/Active: New York The nature of an artist’s life, creativity and
growth may be synonymously expressed in the image of an archetypal tree, Beginning with the earthly
descendent roots the artist like the tree branches out into its Surrounding environmenta} and celestial world.
Both ascend and descend, widening their girth of consciousness while producing visual imagery, weathering

each season of change. Thus, I believe it is the nature of the artist and of nature itself to regenerate and manifes;
All of the imagery in this catalog was either created en plein air or from the subject directly. My journey to

design. Before the age of three I was able to surmise that the church in the ceiling painting was indeed the
church I was in. The visual stimulation was a form of education. [ft fostered my sense of perception which
became my Strongest mode for acquiring knowledge. As the years unfurled, my family moved to Staten Island.
At this time it was a scenic field of | uminosity, lush vegetation and a harbor view complete with sail boats and

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worthpoint.com

 

 

 

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INJURIES:

If you were injured as a result of these actions, describe your injuries and what medical
treatment, if any, you required and received.

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IV. RELIEF

State briefly what money damages or other relief you want the court to order.

 

 

 

 

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defines The Rights of the Artists Authorship and the VARA Act of 1990 as well.

Plaintiff Annamarie Trombetta--Professional Fine Artist - vs -
Defendant Marie and Norb Novocin ---Owners of Estate Auctions Inc
INJURIES

In January 2015 | had two Solo exhibitions after a period of ten years. The last Solo
exhibition took place in 2005. | had an accident in 2003 and was seriously injured and
after my last solo exhibit in 2005 i required surgery. | was in physical and occupational
therapy since 2003 until late 2013. | emerged out of a difficult situation to have my first
Solo exhibit in 10 years atthe Union League Club Gallery on Park Avenue and East
34th Street in New York City. The Union League Club was founded in part with the
involvement of Frederick Law Olmsted designer of Central Park, the nation’s first public
urban park. My solo exhibition featured my artwork based on the theme of Central
Park. The exhibit was one month. My second Solo exhibition was at The Italian
American Museum in “Little Italy” which also lasted one month.

In the months that followed | received four favorable write up and some sales ensued
but not as | had hoped. A friend in earnest contacted me about a listing found under my
name on the internet. [| know the Estate Auction Inc. posting for certain cost me one
definite sale.

The arduous task began to try and figure out who posted this listing and how do |
remove this FALSE posting. Months of Stress ---Worry---Work-- Loss of Income and
Time----Disappointment and Frustration required me to return back to an Orthopedic
Specialist. He stated that stress and emotional turmoil can aggravate injuries . | was in
physical therapy for months. Further my other doctor who is a general physician also
found that | had thyroid issues.

This ordeal with a low bid --FALSE ORIGIN---that unethically used my personal
biography without my consent was and stillis a serious and unjust hardship for me to
endure. | have lost a great deal of time---opportunities ---money and physical stamina
from such an egregious and willful act. All my efforts within the year of 2017 to
contact the couple who committed the False misappropriation have been ignored. The
owner who admitted to selling this false painting suggested that | “hire an attorney”
which | did and who sent a letter to Estate Auctions Inc. They never replied to the
attorney’s ietter, thus leading me to spend more time and agony to bring about a
lawsuit. | recorded a phone conversation between Norb Novocin and myself which
documents what was said and how it was said between us.

The end of 2015 and most of 2016 required me to be in physical therapy and had
continuous doctor visits.
Plaintiff Annamarie Trombetta--Professional Fine Artist - vs -
Defendant Marie and Norb Novocin ---Owners of Estate Auctions Inc

RELIEF

First and Foremost | am seeking “Declaratory Relief” and requesting the Court to Officially
state that | did NOT paint/create an “ Oil Painting in 1972 Man with a Red Umbrella’ and the
photo signature is NOT by my hand.

Second | am seeking Relief for the Federal Laws Violated in which there are three plus
the New York State Laws in which there are three.

The Federal Violations and Acts include and entitle me to the following:

1)The Visual Artist Rights Act entitles me to 1) Actual and 2) Statutory Damages
3) Moral Rights

2)The Lanham Act Violation A) False Designation of Origin

B) Interstate Commerce Effect
People all over the country and the world have access to the internet. The posting came up
under several listings--FIRST--Under my personal name SECOND- Under my Profession-
Google search for Artist Annamarie Trombeita
C) Created the likelihood of confusion amongst the consuming public

3)The Copyright Infringement Act Claim for an Actual Loss of Sale of Artwork
My New York State Claims include Three Specific Violations

1) The Right of Publicity law. Section 50 Right of Privacy and 51 § 5!. Action for injunction
and for damages This law entitles me to seek damages for Emotional and Physical Distress
which | elaborated on under INJURIES question.

2\The New York Consolidated Laws on Arts & Cultural Affairs Title C Article 14.03
Artist Authorship Rights entitles me to see damages for the unauthorized use of my name.

in SUMMARY | am seeking Damages in the Amount of $76,000 for the Following Reasons:

1) The known loss of a sale of Artwork---$8000 which my attorney’s letter requested and was
ignored. In addition a phone call was made to confirm receipt of the letter. The
effort to gain the name of the owner--a settlement---and to resolve this situation simply were
addressed and ignored by Estate Auctions Inc,

2\ The past -present and future damaging effects to my artistic reputation. THE POSTING
WAS UP SINCE DECEMBER 2012 --UNTIL DECEMBER 2016.

3) Physical and Emotional pain and suffering due to this false designation of origin and world
wide internet posting. The cost and time for legal consultations etc. have increased the relief
to request the amount to be $76,000 or whatever the court deems proper, just and suitable.
V. PLAINTIFF’S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
complaint is not being presented for an improper purpose (such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation); (2) the claims are supported
by existing law or by a nonfrivolous argument to change existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified, will likely have
evidentiary support after a reasonable opportunity for further investigation or discovery;
and (4) the complaint otherwise complies with the requirements of Federal Rule of Civil
Procedure 11.

l agree to notify the Clerk's Office in writing of any changes to my mailing address. I
understand that my failure to keep a current address on file with the Clerk's Office may
result in the dismissal of my case.

Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking to
proceed without prepayinent of fees, each plaintiff must also submit an IFP application.

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Dated ) Piaintiff’s Signature
Aw WAC UN ALLY t C_. Team \ othe:
First Name ( Middle Initial Last meme

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Street Address,
Mew Mork —, KaaNork  ioeg

County, City —_ ' State Zip Code . |

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Telephone Number Email Address (if available) uf

Ihave read the Pro Se (Nonprisoner) Consent to Receive Documents Electronically:
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if you do consent to receive documents electronically, submit the completed form with your
complaint. tf you do not consent, please do not attach the form.

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